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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ELIZABETH MONAGHAN-BRISTOW,

 Plaintiff,                                         Case No.: 1:14-cv-06314

 v.                                                 Honorable Judge Andrea R. Wood

 JOHN C. BONEWICZ, P.C. and CACH, LLC,

 Defendants.

              AGREED STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, ELIZABETH

MONAGHAN-BRISTOW and the Defendants JOHN C. BONEWICZ, P.C. and CACH, LLC,

through their respective counsel that the above-captioned action is dismissed, without prejudice,

pursuant to Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees.


Dated: May 10, 2018                            Respectfully Submitted,

ELIZABETH MONAGHAN-BRISTOW                     JOHN C. BONEWICZ, P.C. AND CACH, LLC

/s/ Mohammed O. Badwan                         /s/ Nicole M. Strickler (with consent)
Mohammed O. Badwan                             Nicole M. Strickler
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